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                                  COMMONWEALTH OF PENNSYLVANIA
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                                         July 31, 2020

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VIA ECF
The Honorable Susan E. Schwab

       Re:    Lasher v. PA State Board of Pharmacy, et al.
              No. 17-cv-01546 (M.D.Pa.)

Dear Judge Schwab:

       Pursuant to your Order entered July 24, 2020 (Doc. 90), I write to inform the Court that
Defendants are willing to engage in settlement discussions and that a third party mediator would
be beneficial.

                                            Sincerely,

                                            s/Allison L. Deibert
                                            Allison L. Deibert
                                            Deputy Attorney General

CC: Lena Lasher, via US Mail
